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]une 22. 201§2

Dear l-lonorable Robert H. Whaley,

 

I am Victoria Geaga and l am writing on behalf my son, Dante Orpilla. l
believe it's crucial for Dante’s rehabilitation an for the welfare of his son,
Orion, that he not be returned to the halfway h se. Dante is c committed to
be a productive and contributing member of so iety and is cor apletely
devoted to becoming a responsible parent to hi son, Orion, w no is now
eight years old.

   
  
 
  

ino, unable to

 

Orion's mother has been deemed, by the Court f San Bernar o
care for him, and Orion is now with a tempor guardian T
multiple challenges to the temporary guardian `
her home towards the mother. A hearing is set or Iuly 12th t
testimony related to her guardianship, and ma e a determine -`
permanent guardianship ~

 

Since Dante's return from Sheridan FCI, he has een committ d to restoring
his relationship with Orion and working to pro 'de a suppo - ve and
healthy environment Dante is steadily emplo d, is studyin
practices and is creating a stable living situatio . Dante has ` »
vacation and weekend stays so he can be ther for Orion as .
possible These were negotiated through Famil Services in S n Bernardino
County Superior Court, and granted by judge BK
effect after his release from the half-way house ]une 15th (B ease see the
attached Court Notes for visitation arrangemer ts. The nrst w ‘ ek of vacation
time will be moved because of the guardian's rlqusal to comp y). l~le has
applied for a Change of Custody, but this won't be heard until the
guardianship issue is resolved.

Since Dante's return, he has provided the loving and emotion foundation
Orion needs, He has created a reading program for Orion. in. olved him in
art, music and science. He has restored the fa ily bonds wi ¢- his side of the
family, including his 90 year-old great grandm ther, many ap nts, cousins-
relationships which were previously denied. l you ask Grior What he does
with his time at his guardian’s, he will tell you 24 hour table : games." '
When he is with Dante, he is a happy, engaged nd thoughtfu child. lhave
included some pictures of his visits in the past ew months to demonstrate
the relationship and ties he is trying to trying preserve and nurture.

 

 

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Please consider the crucial role Dante has in his on’s life in this immediate
period, and the positive direction Dante has tak n to rebuild this
relationship in making your determinationl las that you take this into
consideration in making your determination to . end him back_ to the
halfway house.

In deepest sincerity» _

Victo ria Geaga

 

 

 

 

 

